Case 2:05-cV-02258-SHI\/|-tmp Document 25 Filed 08/16/05 Page 1 of 3 Page|D 21
IN THE UNITED STATES DISTRICT COURT

 

FoR THE WESTERN DISTRICT oF TENNESSEE F"‘ED BY. D_C_
WESTERN DIVISION 05 AUG '
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AUBRY ol)oM, ) W/DU'§ TD‘QW"`T COURT
) thrith
Plaintiff, )
)
vs. ) Civ. No. _QM
)
TONY COOPER, et al., )
)
Defendants. )
)
)

 

ORDER GRANTING MOTION OF DEFENDANT, CORRECTIONAL MEDICAL
SERVICES, FOR ENLARGEMENT OF TIME TO FILE RESPONSIVE PLEADINGS
AND/OR RULE 12 MOTION

 

WHEREFORE, on or about July 12, 2005, the defendant, Correctional Medical
Services, lnc. (“Defendant”), by and through counsel of record, moved this court to enlarge the
time within which it may respond to the Plaintiff’ s complaint by filing responsive pleadings
and/or a Rule 12 motion. Based upon the motion and memorandum filed in support thereof by
the Det`endant, it is the Court’s opinion that the Defendant’s motion is well taken and should be
granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Defendant’s
motion for enlargement of time to tile responsive pleadings and/or rule 12 motion is granted and

that the Defendant shall have until September 6, 2005 to file respective responsive pleadings

and/or a rule 12 motion. --* M

TU M. PHAM
United States Magistrate Judge

T; is document entered on the docket sheet in c mp\`\ance \\`\
with F\ule 55 and/or 79(3) FRCP on _ 5:'_£_3__§__ /\-_u t q?/UO`\ l

Date

 

 

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Case 2:05-cv-O2258-SH|\/|-tmp Document 25 Filed 08/16/05. Page 2 of 3 Page|D 22

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TENNESSEE AT MEMPHIS

 

AUBRY ODOM,
Plaintiff,

v. - No. 05-2258_Ma/P
IURY DEMANDED

TONY COOPER and CORRECTIONAL
MEDICAL SERVICES, INC., et al.,

Def`endants.

 

m]"ORDER GRANTING MOTION OF DEFENDANT,
CORRECTIONAL MEDICAL SERVICES , FOR ENLARGEMENT OF TIME TO
FILE RESPONSIVE PLEADINGS AND/OR RULE 12 MOTION

 

WHERlilFORE, on or about July 12, 2005, the defendant, Correctional Medical
Services, lnc. (“Defendant"), by and through counsel of record, moved this court to
enlarge the time within which it may respond to the Plaintiff' s complaint by filing
responsive pleadings and/or a Rule 12 motion. Based upon the motion and memorandum
filed in support thereof by the Def`endant, it is the Court’s opinion that the Defendant’s
motion is well taken and should be granted.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the
Def`endant’s motion for enlargement of time to file responsive pleadings and/or rule 12

motion is granted and that the Defendant shall have until September 6, 2005 to file

respective responsive pleadings and/or a rule 12 motion. M

Judge

 

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Date: TU "{ Z.¢'>'-\__\

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 25 in
case 2:05-CV-02258 was distributed by f`aX, mail, or direct printing on
August 18, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

